                                  Case 23-11069-CTG         Doc 2159 Filed 02/13/24 Page 1 of 3
                                                   United States Bankruptcy Court
                                                               For the District of Delaware


                                                         In re Yellow Corporation , Case No. 23­11069



                                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY


A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).

Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this
evidence and notice.



CRG Financial LLC                                                   G&t International
                                                                    17 Galtee Rd , Brampton, On L6x 0j5
Name of Transferee
                                                                    Name and Address of Transferor
Name and Address where notices to transferee
                                                                    Court Claim# (if known): 11559; 5913
should be sent:
                                                                    Amount of Claim:
                                                                    Scheduled:        $3,800.00- Yellow Logistics, Inc.
CRG Financial LLC                                                   Proofs of Claim: Undetermined- Yellow Logistics, Inc.; $3,800.00- Yellow Logistics, Inc.
84 Herbert Ave. Building B ­ Suite 202                              Date Claim Filed: 09/26/2023; 02/06/2024
Closter, NJ 07624

Phone: (201) 266­6988                                               Phone:
Last Four Digits of Acct#:__________                                Last Four Digits of Acct#:__________

Name and Address where Transferee payments
should be sent (if different from above);
SAME AS ABOVE




I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and belief.




By:/s/ Allison R. Axenrod       Date: 02/13/2024

Transferee/Transferee’s Agent




Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                                                     United States Bankruptcy Court
                                                                For the District of Delaware


                                                           In re Yellow Corporation , Case No. 23­11069




                       NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY



Claim No. ___11559;5913_____ (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the alleged transferor. As evidence of the transfer of
that claim, the transferee filed a Transfer of Claim Other than for Security in the clerk’s office of this court on 02/13/2024.

CRG Financial LLC                                                              G&t International
Name of Alleged Transferee                                                     Name of Transferor

84 Herbert Ave. Building B ­ Suite 202, Closter, NJ 07624                      17 Galtee Rd , Brampton, On L6x 0j5 , ,
Address of Alleged Transferee                                                  Address of Transferor




                                                            ~~DEADLINE TO OBJECT TO TRANSFER~~




The alleged transferor of the claim is hereby notified that objections must be filed with the court within twenty (20) days of the mailing of this notice. If no objection is
timely received by the court, the transferee will be substituted as the original claimant without further order of the court.




Date:_______________________________________

CLERK OF THE COURT
                                 Case 23-11069-CTG                   Doc 2159           Filed 02/13/24            Page 3 of 3

                                                           NOTICE OF TRANSFER AND WAIVER



G&t International (“Seller”), sells, transfers and assigns unto CRG Financial LLC, with an address at 84 Herbert Ave. Building B ­ Suite 202, Closter, NJ 07624, its
successors and assigns (“Purchaser”), pursuant to the terms of a Claim Assignment between Seller and Purchaser (the “Agreement”), all of Seller’s right, title and
interest in, to and under Seller’s Claim or Claims, including any amounts owed as a cure with respect to a contract assumption, against Yellow Corporation or any
of its co­debtor subsidiaries or affiliates (the “Debtor”), pending against Debtor in the United States Bankruptcy Court, for the District of Delaware, jointly
administered as Case No. 23­11069.

Seller hereby waives its right to raise any objection and/or receive notice pursuant to Rule 3001 of the Federal Rules of Bankruptcy Procedures and stipulates that an
order may be entered recognizing the Agreement as an unconditional sale and the Purchaser as the valid owner of the Claim.


IN WITNESS WHEREOF, Seller has signed below as of 12/21/2023.

By: /s/ Sanan Gupta
    Signature

   Sanan Gupta
  Print Name/Title
  G&t International

IN WITNESS WHEREOF, Purchaser has signed below as of Monday, February 12, 2024.

By: /s/ Robert Axenrod
CRG Financial LLC
